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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

RENEWABLE RESOURCES                               §
GROUP, INC.,                                      §
             Plaintiff,                           §
                                                  §
vs.                                               §           Civil Action No. ________________
                                                  §
BANK OF LONDON AND THE                            §
MIDDLE EAST,                                      §
              Defendant.                          §

                                           COMPLAINT

                                               Parties

       1.      Plaintiff Renewable Resources Group, Inc. (“RRG”) is a corporation organized under

the laws of Texas with its principal place of business in Houston, Texas.

       2.      Defendant Bank of London and The Middle East (“BLME”) is a foreign bank

registered in England with its registered office at Sherborne House, 119 Cannon Street, London,

EC49 5AT, United Kingdom.

                                            Jurisdiction

       3.      Jurisdiction is proper pursuant to 28 U.S.C. §1332. The amount in controversy,

without interest and costs exceeds $75,000.

                                                Facts

       4.      On April 10, 2008, RRG and BLME entered into a contract whereby RRG appointed

BLME as the sole arranger and provider of a credit facility to refinance existing financial obligations

related to a biodiesel production facility located in New Boston, Texas (the “Contract”). See Mandate

Letter dated April 10, 2008 attached as Exhibit “1”. Pursuant to the terms of the Contract, BLME

was to provide a credit facility to RRG reflected by a term sheet which was integrated and
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incorporated in its entirety into the Contract. See Summary of Indicative Terms and Conditions (the

“Term Sheet”) attached as Exhibit “2”.

          5.           The terms of the Contract provided that RRG would reimburse BLME for any

reasonable travel and other out of pocket costs and expenses reasonably and properly incurred by

BLME in connection with the transaction contemplated by the Term Sheet, including fees and

disbursements of external legal counsel and other advisors appointed to undertake due diligence. In

addition, the Contract provided that any expenses in excess of $150,000 in aggregate would be subject

to prior written approval of RRG. The Contract provided that it would terminate on June 30, 2008

if definitive documentation had not been executed and conditions precedent satisfied by that date.

          6.           On June 30, 2008, RRG and BLME executed an amendment to the Contract which

increased the cap on expenses to $300,000 and extended the date of termination to July 31, 2008. See

Amendment to Mandate Letter attached as Exhibit “3”.

          7.           On August 12, 2008, BLME notified RRG of a financing proposal approved by its

credit committee the day before. The proposal contained terms not contemplated by the Term Sheet.

As the terms proposed by BLME were not at all in keeping with the terms initially proposed in the

Term Sheet, no final financing agreement was reached.

          8.           BLME now seeks reimbursement from RRG for expenses in excess of $300,000.

Most of those expenses were billed by external legal counsel. The external legal counsel’s billings

indicate that seven attorneys worked on this matter and work performed after the Contract termination

date of July 31, 2008 is included. Moreover, the billings do not include attorney billing rates or the

time spent on any activities.




C O M PLAIN T , P. 2
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                                         Request for Declaratory Relief

          9.           RRG seeks relief pursuant to 28 U.S.C. §2201. An actual controversy has arisen and

now exists between RRG and BLME regarding RRG’s duties under the Contract to reimburse BLME

for expenses. Specifically, RRG contends that it is not responsible for reimbursement of expenses

that are unreasonable and/or not related to the transaction contemplated by the Term Sheet made a

part of the Contract.

          10.          RRG desires a judicial determination of its duties and obligations under the Contract

relating to reimbursement of reasonable expenses relating to the transaction as contemplated by the

Term Sheet.            A judicial declaration is necessary and appropriate at this time under all the

circumstances so that RRG may determine its obligations under the Contract.

          WHEREFORE, Plaintiff Renewable Resources Group, Inc. requests judgment as follows:

          (1)          A declaration that Plaintiff Renewable Resources Group, Inc. has no obligation to

                       reimburse BLME for expenses that are unreasonable and/or not related to the

                       transaction contemplated by the Contract;

          (2)          reasonable and necessary attorney’s fees;

          (3)          costs of court; and

          (4)          such other and further relief as the Court deems just and proper.




C O M PLAIN T , P. 3
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                                         Houston, TX77
                                         Telephone: (713)961-9929
                                         Facsimile:   (713)961-9788

                                         Attorney-in-Charge for Plaintiff
                                         Renewable Resources Group, Inc.




OF COUNSEL:

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Lori A. Swann, 19552500/88285
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Houston, Texas 77046
Telephone: (713) 961-9929
Facsimile:        (713)961-9788




COMPLATNI   P.4
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  \JS 44         (Rev. l2l07)
                                                                                     CryIL COVER SHEET
  the civil docket sheet. (sEE TNSTRi_l'crroNs bN ruE Rlvensn oF THE FoRM.)

  I. (a) PLAINTIFFS                                                                                                       DEFENDANTS
                             RENEWABLE RESOURCES GROUP,                                                                                 BANK OF LONDON AND THE MIDDLE EAST

           (b)   County of Residence of First Listed             Plaintifl HARRIS                                         County ofResidence ofFirst Listed Defendant
                                       (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                      (rN u.s. PLATNTIFF CASES ONLY)
                                                                                                                                    NOTE: N LAND CONDEMNATION                  CASES, USE THE LOCATION OF THE
                                                                                                                                          LAND INVOL\ED.

           (C)   Attomey's (Fim    Name, Address, md Telephone Number)                                                    Attorneys (IfKnown)

Cunningham Law Group 12 Greenway Plaza Ste 1310 Houston TX
77046 713t961-9929
 II. BASIS OF JURISDICTION (place an "X" in one Box only) CITIZENSHIP OF PRINCIPAL PARTIESptace                                                                                                  m.,x,' in one Box for ptaintiff
                                                                                                                     (For Diversity Cases Only)                                              md One Box for Defendot)
 DI          U.S. Govemmenl                   0 3      Federal Question                                                                             PTF DEF                                                  PTF DEF
                 Plaintiff                                (U.S. Govement Not a Party)                          Citizen of This State                OI O I              Incorporated or Principal Place                ts 4 J4
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                Defendant                                                                                                                                                  of Business In Another State
                                                          (lndicate Citizenship ofPrties in Item   lll)
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       120                                    3 l0 Airplme           D 362 Personal Injury -                   0   620 Other Food & Drug                     423 Withdrawal                      4   1   0   Antitrust
 D 130 Miller Act                             315 Airplme Product           Med. Malpractice                   D   625 Drug Related Seizure                      28 USC I5?                      430         Banks md Barrhing
 n 140 Negotiable Instrurnent                      Liability         O 365 Personai lnjury -                             ofProperty 2t USC 881                                                   450         Comerce
 J 150 Recovery of Overpayment                320 Assault, Libel &          Product Liability                      630   Liquor Laws                                                        -t   460         Deportation
       & Enforcement of                            Slander           3 368 Asbestos Personal                       640   R.R. & Truck                        820 Copyrights                 o    470         Racketeer Influenced md
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 o     I52 Recovery of Defaulted                   Liability                Liability                              660   Occupational                        840 Trademark                  o    480         Consumer Credit
           Student Loms                       340 Marine              PERSONAL PROPERTY                                  Safeqr/Health                                                      D    490         Cable/Sat TV
           (Excl. Veterans)                   345 Marine Product     O 370 Other Fraud                                                                                                      D    810         Selective Service
 D     153 Recovery of Oveipaymenl                 Liability         D 371 Truth in Lending                                                                                                 D    850         Secuities/Commodities/
           of Veteran's Benefits              350 Motor Vehicle      D 380 Other Personal                          710 Fair Labor Stildards              D   86r HrA (1395ff)                        Exchange
 D     160 Stockholders' Suits                355 Motor Vehicle            Property Dmage                                Act                             D   862 Black Lung (923)                8?5 Customer Challenge
 F     190 Other Contract                          Product Liability 3 385 Property Dmage                          720 Labor/Mgmt. Relations             D   863 DtWC/DIww (aos(g))                  12 USC 3410
 n     195 Conhaat Product Liability          360 Other Pe$onal            Product Liabilitv                       73 0 Labor,Mgmt.Repofi ing            D   864 SSID Title XM                   890 Other Statutory Actions
 0     196   Frmchise                                                                                                 & Disclosue Act                                                            891 Agricultual Acts
                                                                                                                   740 Railway Labor Act                                                         892 Economic Stabilization A0t
 0    210 Land Condemnation              O    441 Voting                           510 Motions to Vacate       O   790 Other Labor Litigation                870 Taxes (U.S. Plaintiff           893 Environmental Matters
 0    220 Foreclosure                    il   442 Emplolment                           Sentence                D   791 Empl. Ret. Inc.                            or Defendmt)                   894 Energy Aliocation Act
 D    230 Rent Lease & Ejechnenl         il   443 Housing/                         Habeas Corpus:                      Security Act                          871 IRS-Third Party            D    895 Freedom of Infomation
 D    240 Torts to Land                          Accolmodations                    530 General                                                                   26 USC 7609                                 Act
 il   245 Toft Product Liability         D    444 Welfare                          535 Death Penalty                                                                                        o    900Appeal of Fee Detemination
 D    290 All Other Real Property             445 Amer. w/Disabilities -           540 Mmdamus & Other                                                                                               Under Equal Access
                                                 Employment                        550 Civil Rights                463 Habeas Corpus -                                                               to Jusfice
                                              446 Amer. w/Disabilities -           555 Prison Condition               Alien Detainee                                                             950 Constitutionality of
                                                 Other                                                             465 Other Immigration                                                             State Statutes
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 V. ORIGIN                       (Place m   "X"    in One Box Only)                                                                                                                                                 Appeal to District
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             Proceeding
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VI.         CAUSE OF ACTION                        Brief descriotion olcause:
                                                   request'tor declaratory judgment regarding contract
VII.         REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                            DEMAND           $                               CHECK      \TS only if demanded                in complaint
     COMPLAINT:                                         UNDER F-R.C.P 23                                                                                            JURY      DEMAND: - Yes dNo
VIII. RELATED CASE(S)                                  (See   instructions):
      IF ANY                                                                   JUDGE                                                                         DOCKET NUMBER

DATE

      09121t2009


      RECEIPT #                        AMOUNT                                        APPLYING IFP                                          JIIDGE                               MAG. ruDGE
